OPINION — AG — ** CITY COUNCILMAN (COUNCIL MAN) — TRUSTEE OF PUBLIC TRUST WITH CITY AS BENEFICIARY — CONFLICT OF INTEREST ** WHERE A CITY COUNCILMAN IS ALSO A TRUSTEE OF A PUBLIC TRUST CREATED PURSUANT TO 60 O.S. 1976 Supp., 176 [60-176] ET SEQ., WITH THE CITY AS THE BENEFICIARY OF SAID TRUST, IT WOULD NOT CONSTITUTE A CONFLICT OF INTEREST FOR SAID TRUSTEE TO ACCEPT EMPLOYMENT WITH A CONTRACTOR WITH WHOM THE TRUST HAD PREVIOUSLY CONTRACTED; PROVIDED, HOWEVER, IT WOULD BE A VIOLATION OF THE LAW FOR THE TRUSTEE TO ACCEPT SAID EMPLOYMENT IF, AT THE TIME HE VOTED FOR THE AWARDING OF THE CONSTRUCTION CONTRACT, HE KNEW HE WOULD THEREAFTER BE EMPLOYED BY SAID CONTRACTOR. CITE: 60 O.S. 1971 175.11 [60-175.11] (MIKE D. MARTIN)